         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 1 of 23
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          July 28, 2023
                                                                                       Nathan Ochsner, Clerk




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


                                                      §
In re:                                                §   Chapter 11
                                                      §
TALEN ENERGY SUPPLY, LLC,                             §   Case No. 22-90054 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §   Chapter 11
                                                      §
TALEN MONTANA HOLDINGS, LLC, §                            Case No. 22-90055 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §   Chapter 11
                                                      §
TALEN MONTANA, LLC,                                   §   Case No. 22-90056 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 2 of 23




                                                      §
In re:                                                §
                                                      §       Chapter 11
MONTANA GROWTH HOLDINGS                               §
LLC,                                                  §       Case No. 22-90057 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
COLSTRIP COMM SERV, LLC,                              §       Case No. 22-90058 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
TALEN GENERATION, LLC,                                §       Case No. 22-90059 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
MONTOUR, LLC,                                         §       Case No. 22-90060 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          2
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 3 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
BRUNNER ISLAND, LLC,                                  §       Case No. 22-90061 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
In re:                                                §       Chapter 11
                                                      §
RAVEN POWER GENERATION                                §
HOLDINGS LLC,                                         §       Case No. 22-90062 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
RAVEN POWER GROUP LLC,                                §       Case No. 22-90063 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
RAVEN POWER FINANCE LLC,                              §       Case No. 22-90064 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          3
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 4 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
RAVEN POWER FORT                                      §
SMALLWOOD LLC,                                        §       Case No. 22-90065 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
In re:                                                §       Chapter 11
                                                      §
RAVEN FS PROPERTY                                     §
HOLDINGS LLC,                                         §       Case No. 22-90066 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
H.A. WAGNER LLC,                                      §       Case No. 22-90067 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
BRANDON SHORES LLC,                                   §       Case No. 22-90068 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          4
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 5 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
RAVEN LOT 15 LLC,                                     §       Case No. 22-90069 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
FORT ARMISTEAD ROAD – LOT 15 §
LANDFILL, LLC,                                        §       Case No. 22-90070 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
RAVEN POWER PROPERTY LLC,                             §       Case No. 22-90071 (MI)
                                                      §
                                                      §
                  Debtor.                             §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
RMGL HOLDINGS LLC,                                    §       Case No. 22-90072 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          5
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 6 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
BRUNNER ISLAND SERVICES, LLC, §                               Case No. 22-90073 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
REALTY COMPANY OF                                     §
PENNSYLVANIA,                                         §       Case No. 22-90074 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
BDW CORP.,                                            §       Case No. 22-90075 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
LADY JANE COLLIERIES, INC.,                           §       Case No. 22-90077 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          6
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 7 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
MONTOUR SERVICES, LLC,                                §       Case No. 22-90078 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
HOLTWOOD, LLC,                                        §       Case No. 22-90080 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
In re:                                                §       Chapter 11
                                                      §
MARTINS CREEK, LLC,                                   §       Case No. 22-90082 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
SAPPHIRE POWER GENERATION                             §
HOLDINGS LLC,                                         §       Case No. 22-90084 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          7
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 8 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
SAPPHIRE POWER LLC,                                   §       Case No. 22-90086 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
SAPPHIRE POWER FINANCE LLC,                           §       Case No. 22-90088 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
MEG GENERATING COMPANY, LLC, §                                Case No. 22-90089 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
SAPPHIRE POWER                                        §
MARKETING LLC,                                        §       Case No. 22-90076 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          8
         Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 9 of 23




                                                      §
In re:                                                §       Chapter 11
                                                      §
PEDRICKTOWN MANAGEMENT                                §
COMPANY LLC,                                          §       Case No. 22-90079 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
PEDRICKTOWN INVESTMENT                                §
COMPANY LLC,                                          §       Case No. 22-90081 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
PEDRICKTOWN COGENERATION                              §
COMPANY LP,                                           §       Case No. 22-90083 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §       Chapter 11
                                                      §
YORK PLANT HOLDING, LLC,                              §       Case No. 22-90085 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          9
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 10 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
YORK GENERATION                                       §
COMPANY LLC,                                          §        Case No. 22-90087 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
ELMWOOD ENERGY                                        §
HOLDINGS, LLC,                                        §        Case No. 22-90091 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
ELMWOOD PARK POWER, LLC,                              §        Case No. 22-90093 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
CAMDEN PLANT HOLDING, L.L.C., §                                Case No. 22-90095 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          10
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 11 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
NEWARK BAY HOLDING                                    §
COMPANY, L.L.C.,                                      §        Case No. 22-90098 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
LIBERTY VIEW POWER, L.L.C.,                           §        Case No. 22-90100 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
NEWARK BAY COGENERATION                               §
PARTNERSHIP, L.P.,                                    §        Case No. 22-90103 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
MORRIS ENERGY MANAGEMENT                              §
COMPANY, LLC,                                         §        Case No. 22-90105 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          11
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 12 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
MORRIS ENERGY OPERATIONS                              §
COMPANY, LLC,                                         §        Case No. 22-90107 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
LOWER MOUNT BETHEL                                    §
ENERGY, LLC,                                          §        Case No. 22-90109 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
PENNSYLVANIA MINES, LLC,                              §        Case No. 22-90111 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
MC OPCO LLC,                                          §        Case No. 22-90113 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          12
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 13 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN NUCLEAR                                         §
DEVELOPMENT, LLC,                                     §        Case No. 22-90114 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
BELL BEND, LLC,                                       §        Case No. 22-90115 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
SUSQUEHANNA NUCLEAR, LLC,                             §        Case No. 22-90116 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
BARNEY DAVIS, LLC,                                    §        Case No. 22-90090 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          13
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 14 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
NUECES BAY, LLC,                                      §        Case No. 22-90092 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
LAREDO, LLC,                                          §        Case No. 22-90094 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN TEXAS PROPERTY, LLC,                            §        Case No. 22-90096 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN TEXAS GROUP, LLC,                               §        Case No. 22-90097 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§




                                                          14
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 15 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN ENERGY MARKETING, LLC, §                                 Case No. 22-90099 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN ENERGY RETAIL LLC,                              §        Case No. 22-90101 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN TREASURE STATE, LLC,                            §        Case No. 22-90102 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN ENERGY SERVICES                                 §
GROUP, LLC,                                           §        Case No. 22-90104 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          15
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 16 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN ENERGY SERVICES                                 §
HOLDINGS, LLC,                                        §        Case No. 22-90106 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN ENERGY SERVICES                                 §
NORTHEAST, INC.,                                      §        Case No. 22-90108 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN LAND HOLDINGS, LLC,                             §        Case No. 22-90110 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN NE LLC,                                         §        Case No. 22-90112 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          16
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 17 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
NORTHEAST GAS GENERATION                              §
HOLDINGS, LLC,                                        §        Case No. 22-90120 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN TEXAS, LLC,                                     §        Case No. 22-90117 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
DARTMOUTH PLANT                                       §
HOLDING, LLC,                                         §        Case No. 22-90118 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
DARTMOUTH POWER HOLDING                               §
COMPANY, L.L.C.,                                      §        Case No. 22-90119 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§




                                                          17
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 18 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
DARTMOUTH POWER                                       §
GENERATION, L.L.C.,                                   §        Case No. 22-90121 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
DARTMOUTH POWER ASSOCIATES §
LIMITED PARTNERSHIP,                                  §        Case No. 22-90122 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN II GROWTH PARENT LLC,                           §        Case No. 22-90123 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN II GROWTH HOLDINGS LLC, §                                Case No. 22-90124 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§




                                                          18
        Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 19 of 23




                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN TECHNOLOGY                                      §
VENTURES LLC,                                         §        Case No. 22-90125 (MI)
                                                      §
                                                      §
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§

                          FINAL DECREE CLOSING CERTAIN CASES

                 Upon consideration of the Certification of Counsel Regarding Final Decree

Closing Certain Cases, dated July 28, 2023 (the “Certification of Counsel”),1 filed by Talen

Energy Supply, LLC and its debtor affiliates (collectively, the “Reorganized Debtors”), for entry

of an order closing the chapter 11 cases of all the Reorganized Debtors except for the chapter 11

case of Talen Energy Corporation, all as more fully set forth in the Certification of Counsel; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this matter being

a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief requested is in accordance

with the terms of the Confirmation Order; and after due deliberation and sufficient cause appearing

therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.       Each of the Debtors’ chapter 11 cases listed on Exhibit 1 attached hereto is

hereby closed (the “Closed Cases”), effective as of the date hereof.

                 2.       A docket entry shall be made in each of the Closed Cases reflecting entry

of this Final Decree and Order.


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Certification of Counsel or Plan, as applicable.
                                                          19
       Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 20 of 23




               3.      Entry of this Final Decree and Order is without prejudice to (i) the rights of

any Reorganized Debtor or other party in interest to seek to reopen any of the Closed Cases for

cause pursuant to section 350(b) of the Bankruptcy Code and (ii) the rights of any Reorganized

Debtor or other party in interest to dispute, object to, or resolve any Claim that was filed against

any of the Reorganized Debtors in the chapter 11 cases. Except as expressly set forth in the

Bankruptcy Code, nothing in this Final Decree and Order shall affect the substantive rights of any

party in interest in the Closed Cases.

               4.      All pending and future matters relating to each of the Reorganized Debtors,

including final fee applications and objections to Claims, if applicable, shall be administered and

heard in the chapter 11 case of Talen Energy Corporation, Case No. 22-90339 (MI) (the

“Remaining Case”), notwithstanding entry of this Order or the closure of the Closed Cases. For

the avoidance of doubt, the Talen GUC Trust may undertake all actions and discharge all duties in

accordance with the Plan and Confirmation Order in the Remaining Case to the same extent it

could have undertaken or performed such actions or duties in the Closed Cases, notwithstanding

entry of this Order.

               5.      This Final Decree and Order is solely intended to facilitate the

administration of the Closed Cases and to avoid the incurrence of U.S. Trustee fees with respect

to the Closed Cases.

               6.      Nothing herein modifies the obligation of the Reorganized Debtors under

Article XII.D of the Plan or paragraph 45 of the Confirmation Order with respect to any fees due

and payable under 28 U.S.C. § 1930(a)(6)(A).




                                                20
       Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 21 of 23




               7.     This Court retains jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Final Decree and Order.




 Signed: July
Dated:        28, 2023
          October  17, 2018    , 2023
       Houston, Texas
                                                    ____________________________________
                                             THE HONORABLE MARVIN MarvinISGUR
                                                                          Isgur
                                                        United States Bankruptcy
                                             UNITED STATES BANKRUPTCY JUDGE      Judge




                                                21
Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 22 of 23




                                Exhibit 1

                               Closed Cases

            Name of Reorganized Debtor          Case Number
       Talen Energy Supply, LLC                 22-90054 (MI)
       Talen Montana Holdings, LLC              22-90055 (MI)
       Talen Montana, LLC                       22-90056 (MI)
       Montana Growth Holdings LLC              22-90057 (MI)
       Colstrip Comm Serv, LLC                  22-90058 (MI)
       Talen Generation, LLC                    22-90059 (MI)
       Montour, LLC                             22-90060 (MI)
       Brunner Island, LLC                      22-90061 (MI)
       Raven Power Generation Holdings LLC      22-90062 (MI)
       Raven Power Group LLC                    22-90063 (MI)
       Raven Power Finance LLC                  22-90064 (MI)
       Raven Power Fort Smallwood LLC           22-90065 (MI)
       Raven FS Property Holdings LLC           22-90066 (MI)
       H.A. Wagner LLC                          22-90067 (MI)
       Brandon Shores LLC                       22-90068 (MI)
       Raven Lot 15 LLC                         22-90069 (MI)
       Fort Armistead Road – Lot 15 Landfill,
                                                22-90070 (MI)
       LLC
       Raven Power Property LLC                 22-90071 (MI)
       RMGL Holdings LLC                        22-90072 (MI)
       Brunner Island Services, LLC             22-90073 (MI)
       Realty Company of Pennsylvania           22-90074 (MI)
       BDW Corp.                                22-90075 (MI)
       Sapphire Power Marketing LLC             22-90076 (MI)
       Lady Jane Collieries, Inc.               22-90077 (MI)
       Montour Services, LLC                    22-90078 (MI)
       Pedricktown Management Company
                                                22-90079 (MI)
       LLC
       Holtwood, LLC                            22-90080 (MI)
       Pedricktown Investment Company LLC       22-90081 (MI)
       Martins Creek, LLC                       22-90082 (MI)
       Pedricktown Cogeneration Company LP      22-90083 (MI)
       Sapphire Power Generation Holdings
                                                22-90084 (MI)
       LLC
       York Plant Holding, LLC                  22-90085 (MI)
       Sapphire Power LLC                       22-90086 (MI)
       York Generation Company LLC              22-90087 (MI)
       Sapphire Power Finance LLC               22-90088 (MI)
       MEG Generating Company, LLC              22-90089 (MI)
       Barney Davis, LLC                        22-90090 (MI)
       Elmwood Energy Holdings, LLC             22-90091 (MI)
Case 22-90056 Document 18 Filed in TXSB on 07/28/23 Page 23 of 23




       Nueces Bay, LLC                         22-90092 (MI)
       Elmwood Park Power, LLC                 22-90093 (MI)
       Laredo, LLC                             22-90094 (MI)
       Camden Plant Holding, L.L.C.            22-90095 (MI)
       Talen Texas Property, LLC               22-90096 (MI)
       Talen Texas Group, LLC                  22-90097 (MI)
       Newark Bay Holding Company, L.L.C.      22-90098 (MI)
       Talen Energy Marketing, LLC             22-90099 (MI)
       Liberty View Power, L.L.C.              22-90100 (MI)
       Talen Energy Retail LLC                 22-90101 (MI)
       Talen Treasure State, LLC               22-90102 (MI)
       Newark Bay Cogeneration Partnership,
                                               22-90103 (MI)
       L.P.
       Talen Energy Services Group, LLC        22-90104 (MI)
       Morris Energy Management Company,
                                               22-90105 (MI)
       LLC
       Talen Energy Services Holdings, LLC     22-90106 (MI)
       Morris Energy Operations Company,
                                               22-90107 (MI)
       LLC
       Talen Energy Services Northeast, Inc.   22-90108 (MI)
       Lower Mount Bethel Energy, LLC          22-90109 (MI)
       Talen Land Holdings, LLC                22-90110 (MI)
       Pennsylvania Mines, LLC                 22-90111 (MI)
       Talen NE LLC                            22-90112 (MI)
       MC OpCo LLC                             22-90113 (MI)
       Talen Nuclear Development, LLC          22-90114 (MI)
       Bell Bend, LLC                          22-90115 (MI)
       Susquehanna Nuclear, LLC                22-90116 (MI)
       Talen Texas, LLC                        22-90117 (MI)
       Dartmouth Plant Holding, LLC            22-90118 (MI)
       Dartmouth Power Holding Company,
                                               22-90119 (MI)
       L.L.C.
       NorthEast Gas Generation Holdings,
                                               22-90120 (MI)
       LLC
       Dartmouth Power Generation, L.L.C.      22-90121 (MI)
       Dartmouth Power Associates Limited
                                               22-90122 (MI)
       Partnership
       Talen II Growth Parent LLC              22-90123 (MI)
       Talen II Growth Holdings LLC            22-90124 (MI)
       Talen Technology Ventures LLC           22-90125 (MI)




                                    2
